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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

                                                )   4
UNITED STATES OF AMERICA,                       )
                                                )
                                                    VIOLATION: F4340070
            Plaintiff,                          )
                                                )
                                                    ORDER
                    v.                          )
                                                )
ZACHARY W. FITZGERALD,                          )
                                                )
                    Defendant.


     Upon motion of the government, the violation is dismissed.

     IT IS SO ORDERED this 1st day of October, 2012.




                                         CHERYL R. ZWART
                                         United States Magistrate Judge
